                             IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK
 HAITIAN EVANGELICAL CLERGY
 ASSOCIATION; SERVICE EMPLOYEES
 INTERNATIONAL UNION – LOCAL
 32BJ; SABINA BADIO FLORIAL;                          Case No. 1:25-cv-01464-BMC
 YOUDELAINE DORCIN; ROBERT
 JEAN ALIX ERINAC; RACHELLE
 GUIRAND; DIEU YOLNICK JEUNE
 CADET; AUDOINE AMAZAN; GERALD
 MICHAUD; NADEGE JOSEPH
 MICHAUD; and MARIE WILDRIGUE                         NOTICE OF MOTION FOR
 ERINAC MIOT,                                         POSTPONEMENT OF AGENCY
                                                      ACTION UNDER 5 U.S.C. § 705
                                Plaintiffs,
                        v.
 DONALD J. TRUMP, President of the                    ORAL ARGUMENT REQUESTED
 United States of America; UNITED
 STATES OF AMERICA; THE
 DEPARTMENT OF HOMELAND
 SECURITY; and KRISTI NOEM,
 Secretary of Homeland Security,
                                Defendants.


       PLEASE TAKE NOTICE that on April 16, 2025, at 9:30 a.m., or as soon thereafter as the matter

may be heard, at 225 Cadman Plaza East, Brooklyn, New York 11201, Plaintiffs will, pursuant to 5

U.S.C. § 705, move this Court, the Hon. Brian M. Cogan, U.S.D.J., for postponement of the effective

date of the Secretary of Homeland Security’s February 24, 2025, “partial vacatur” of Haiti’s Temporary

Protected Status designation pending final resolution of this case on the merits. In support their motion,

Plaintiffs are simultaneously submitting a memorandum of law dated April 15, 2025.

Dated: April 15, 2025                                 Respectfully submitted,

                                                      /s/ Andrew Tauber
                                                      Andrew Tauber

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